    Case 4:20-cv-00165-ALM Document 23 Filed 06/02/20 Page 1 of 3 PageID #: 571



         IN THE U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF TEXAS,
                                SHERMAN DIVISION

MARK HAMMERVOLD                                           §
                                                          §
           Plaintiff                                      §
                                                          §         No. 4:20-CV-00165-ALM
           v.                                             §
                                                          §
DIAMONDS DIRECT USA OF                                    §
DALLAS, LLC; DAVID BLANK;                                 §
DIAMOND CONSORTIUM, INC.                                  §
d/b/a THE DIAMOND DOCTOR; and                             §
JEWELERS MUTUAL INSURANCE                                 §
COMPANY                                                   §

                    CORRECTED1 DECLARATION OF MARK HAMMERVOLD

           Pursuant to 28 U.S.C. §1746, I hereby declare as follows.


           1.        My name is Mark Hammervold. I am over the age of twenty-one and I am

competent to testify to the facts in this Declaration. The facts in this Declaration are based on my

personal knowledge.

           2.        I have been a domicile of Illinois and resided in Illinois since October 2015. I have

lived in Illinois since I moved to Illinois in October 2015 and since that time I have I intend and

still intend to make Illinois my permanent home.

           3.        All of the damages I that have alleged in my Complaint (Dkt. 1) have affected me

in Illinois, where I live, and have lived since David Blank and Diamond Doctor sued me in

September 2016.

           4.        In August 2016, I was pursuing litigation against a Jewelers’ Mutual insured located

in Illinois. I dealt directly with Jewelers’ Mutual and ultimately settled the matter directly with

them. The claim arose from the sale of an overgraded EGL diamond.


1
    This filing has been corrected only to include the Plaintiff’s signature block and certificate of service.
 Case 4:20-cv-00165-ALM Document 23 Filed 06/02/20 Page 2 of 3 PageID #: 572



       5.      Based on my investigation and research into Diamond Doctor, representation of

clients adverse to Diamond Doctor, and/or secondhand knowledge I obtained through reviewing

discovery materials provided by David Blank and/or Diamond Doctor, it is my understanding that

Diamond Doctor would did business on a large scale and completed transactions with residents of

many other states outside of Texas. When I was pursuing claims against Diamond Doctor, I

believed it would be subject to jurisdiction in states beyond Texas, particularly for non-resident

customers to whom Diamond Doctor had shipped jewelry to their home states.

       6.      Blank and Diamond Doctor served me with process of the federal lawsuit at my

home at the time in Chicago, Illinois.

       7.      I accessed a portion of Diamonds Direct’s website listings its retail locations in the

United States (https://diamondsdirect.com/locations) on May 29, 2020. This website indicates that

Diamonds Direct has locations in thirteen different states.

       8.      Blank and Diamond Doctor described my conduct at issue in their lawsuit against

me as my “willingness and availability to prosecute and acceptance of representation of parties in

suits against targeted jewelers is part of Manookian’s overall scheme to extort jewelers.” While I

disagree with Blank and Diamond Doctor characterization as being part of a “scheme [by

Manookian] to extort jewelers,” my conduct in accepting cases and being available to accept cases

would have occurred almost entirely, if not exclusively, in Illinois.

       9.      While I consistently refused Diamond Doctor and Blank’s demands that I agree to

limit my practice by not soliciting or representing future claimants against Diamond Doctor or

Diamonds Direct, if I had agreed to their demands, I would have been constrained by these

restrictions primarily in Illinois, where I live and practice law.

       10.     I declare under penalty of perjury that the foregoing is true and correct.
 Case 4:20-cv-00165-ALM Document 23 Filed 06/02/20 Page 3 of 3 PageID #: 573



Executed this 1st day of June, 2020.

s/Mark Hammervold
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Pro Se Plaintiff



                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true and correct copy of the original filing (Dkt. 20)

was served upon all counsel of record via the Court’s ECF system on June 1, 2020, and that this

corrected filing was served upon all counsel of record via the Court’s ECF system on June 1, 2020

                                                         /s/ Mark Hammervold
